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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    UNITED STATES OF AMERICA,                           CASE NO. CR16-136 JCC
10                          Plaintiff,                    MINUTE ORDER
11           v.

12    OSCAR URIEL BARRON GONZALEZ,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          Before the Court is the parties’ stipulated motion (Dkt. No. 301) to set a briefing schedule
18   on Defendant’s motion for compassionate release (Dkt. No. 294). Finding good cause, the Court
19   GRANTS the stipulation (Dkt. No. 301) and ORDERS that: (1) Defendant’s motion (Dkt. No.
20   294) is RE-NOTED for December 27, 2021; and any supplemental motion from Defendant is
21   due November 15, 2021, with the Government’s response due December 17, 2021, and any reply
22   from Defendant due on December 27, 2021.
23          DATED this 22nd day of October 2021.
                                                           Ravi Subramanian
24
                                                           Clerk of Court
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                                                           s/Sandra Rawski
26                                                         Deputy Clerk


     MINUTE ORDER
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